Case No. 1:22-cv-00588-CMA-MDB Document 28 filed 11/04/22 USDC Colorado pg 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   CASE NO.: 1:22-cv-00588-CMA-MDB

   CARLOS BRITO,

         Plaintiff,

   v.

   WETHERLY INVESTMENTS, LLC
   D/B/A CROSSROADS AT CITADEL,

         Defendant.


                      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        Plaintiff, CARLOS BRITO, and Defendant, WETHERLY INVESTMENTS, LLC

   D/B/A CROSSROADS AT CITADEL, (“Defendant”), by and through undersigned counsel,

   and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby STIPULATE AND

   AGREE that this matter has been settled and to the immediate dismissal of this action

   with prejudice, with each party to bear its own attorney’s fees and costs except as

   indicated in the settlement agreement.

   STIPULATED AND AGREED by Counsel for the Parties on the dates below written.

   Respectfully submitted on November 4, 2022.
Case No. 1:22-cv-00588-CMA-MDB Document 28 filed 11/04/22 USDC Colorado pg 2 of 2




   /s/ Anthony J. Perez                       /s/ Amanda H. Halstead
   ANTHONY J. PEREZ, ESQ.                     AMANDA H. HALSTED
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   Attorney for Plaintiff                     Attorney for Defendant




                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

   the Court's electronic filing system upon all parties of record on November 4, 2022.


                                                   GARCIA-MENOCAL & PEREZ, P.L.
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                                                   By: ___/s/_Anthony J. Perez________
                                                         ANTHONY J. PEREZ




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